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 8                            IN THE UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

10   EDWARD DON BROWN,

11                  Petitioner,                    No. CIV S-05-1195 LKK DAD P

12           vs.

13   WARDEN YATES,

14                  Respondent.                    ORDER

15                                           /

16                  Petitioner, a state prisoner proceeding pro se, has filed an application for a writ of

17   habeas corpus pursuant to 28 U.S.C. § 2254. The matter was referred to a United States

18   Magistrate Judge pursuant to 28 U.S.C. § 636(b)(1)(B) and Local General Order No. 262.

19                  On March 5, 2009, the magistrate judge filed findings and recommendations

20   herein which were served on all parties and which contained notice to all parties that any

21   objections to the findings and recommendations were to be filed within twenty days. Neither

22   party has filed objections to the findings and recommendations.

23                  The court has reviewed the file and finds the findings and recommendations to be

24   supported by the record and by the magistrate judge’s analysis. Accordingly, IT IS HEREBY

25   ORDERED that:

26   /////

                                                      1
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 1               1. The findings and recommendations filed March 5, 2009, are adopted in full;

 2   and

 3               2. Petitioner’s application for a writ of habeas corpus is denied.

 4   DATED: March 31, 2009.

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